Ss 72h se ry Sev- 00177- WS Dociment 1. rie Didbibs/ Page of 1. er beef
| * CIVIL DOCKET ee
NITED, STATES DISTRICT COURT Jury demand date: face
Form No. 106A Rev. ohn _
TITLE OF CASE ATTORNEYS .

JATIONAL ASSOCIATION FOR THE ADVANCEMENT
XF COLORED PEOPLE, By its President WHIT

CAMPBELL,
JOH N HUTLEY, for themselves and others

similarly situated
Plaintiffs

VS.

3ADSDEN COUNTY SCHOOL BOARD, EDWARD
?TLETCHER, CECIL BUTLER C. W. HAREIN,
NILL I. RAMSEY, SR., RANDOLPH GREENE,
nembers of the Gadsden County

JRe,
as

Defendants

CCESSION # # fe L. at

school Board

Kent—Spriggs, Lie-¥e —Garcted
For plaintiff Aye. ToiLal FL, 22364 =
Jack Greenburg, Charles Williams,
Legal Defense Fund, 10 Columbus Circle,
New York, New York 10019

Kent Spriggs

117 S. Martin Luther King., JR. Blvd
Tallahassee, FL 32301
224-8701
a
For retontamQe Graham Carothers
P, OO, Box 391; Tallahassee, Fl. 32302

onl OF fin

ox # whet l ST 626 Mx. ALCON NM. Towlés; P.O. Drawer 549,
Quiney; Fis S23St—7 Tf ter oe
ICATION.
Mr. Richard Garanér,, _ $01-Quiney state
Bank Bldg -eineys FL:
Ce ag 1079 oo
ty obo: 32351
we Anas H. Thompson
5 211 E. Jefferson St
votes m tox 2 Gonme - : .
eer sd Quincy, FL 32351 7
Court Reporte Yes. 24/5 th A
STATISTICAL RECORD costs DATE Rae e eS. REC. DISB.
. WO/12//73 Sprigds 15/06
5 mailed Clerk LO/16/73 Tr US CAD #9 1500
6 mailed Marshal “
i ‘3 “4 os cao
s of Action: Class AcCtigh oot ¢
astitutionally diluting VY ufF/

« majority voting
agth
on arose at:

Witness fees

Depositions

Case 4:73-cv-00177-WS Document1 Filed 11/25/03 Page 2 of 11

FFI MI—1-

3-F2-400M-.715¢

Date Ord
DATE PROCEEDINGS Judgment
-0/12/73, Filed complaint alleging unconstitutionally diluting black majority
voting strength seeking a single-member Gistrict plan, costs and
attorneys fees
0/12/73) Issued summons and handed to US Marshal with copies of complaint
JS-5
0/26/73 | Filed plaintiffs’ Motion to Consolidate for Purposes of Discovery ahd
Trial No, 73-176 and 73-177 (pleading filedin 73-L76-T)
1/1/73 |Filed plaintiff's Interrogatories to defendants
1/8/73 Filed US Marshal's Return on 285 showing complaint served on Gadsden
County School Board on 11/1/73
L/8/73 [Filed US Marshal's Return on 285 showing complaint served on Cecil Butler
ion 11/1/73
18/73 Filed US Marshal's Return on 285 showing complaint served on C. W. Harbin,
r. on 11/1/73
18/73 iled US Marshal's Return on 285 showing complaint served on Edward
letcher on 11/1/73
18/73 iied US Marshal‘s Return on 285 showing complaint served on Randolph
reene on 11/1/73
18/73 iled US Marshal's Return on 285 showing complaint served on Will I.
Ramsey, Sr. on 11/1/73
20/73 Filed Motion to Stay Proceedings or Abstain
20/73 Filed Memorandum of Law in Support of Motion to Stay Proceedings or Abstair
20/73 Filed Motion to dismiss
20/73 Filed Memorandum of Law in Support of Motion to Dismiss
a fT. Flled Plaintiffs’ Response to Defendants’ Motion to Stay or Abstain /and
Dismiss
5/73 Filed Amended Complaint
47/73 Hearing on Motions set for 12/11/73 at 10:30 am. at Tallanassee (Mr\. Sprig
will notice)
/10/73 Filed ?AtsSers to Interrogatories
113/73 Filed Order granting plaintiff's Motion to Consolidate with 73~176-CIV-T
for purposes of discovery and trial (2) Denying School Board's Motion to
Stay Proceedings or Abstain and County Commission's Motion to Abatain or
Stay Proceedings (3) Carrying motions to dismiss with the cases pending
consideration of briefs on question of convening 3 judge panel (4) Counsel
to submit memorandum brief by 12/21/73 relating to conwening 3 judge! panel
(5) granting ore tenus request of defendants and ailowing NAACP to remain
as a proper party plaintiff (copy to parties)
19/73 Piled Plaintiffs’ Interrogatories to Gadsden County Commission
/19/73 | Filed Plaintiffs‘ Motion to Compel answers to certain interrogatories
w/memo of law thereon
/21/73 |Memorandum Brief as to Prerequisites for Convening a Three-Judge Court
Pursuant to Provisions of 28 U.S.C. g 2281 filed in 73-176
/21/73 |Filed Plaintiffs' Brief on the Necessity of Convening a Three-Judge Court
., cert, co oO :
0/74 Filéd/Di'smigeal by One Plaintiff (the NAACP)
5/74 Filed cert. copy of Stipulation on Discovery
5/74 Filed cert. copy of plaintiffs' Motion to Consolidate for Purposes of

16/74

Discovery and Trial in TCA 73-176, 73-177 and 73=210 | ta
Filed Answers of Gadsden County Commission to plaintiffs’ interrogat

ories
Case 4:73-cv-00177-WS Document 1 Filed 11/25/03 Page 3 of 11

B.C. 104 73-177-CIV-T NAACP, etc., et al v. GADSDEN COUNTY SCHOOL BOARD,ET
. CLERK'S FEES AMOUNT
BATE FILINGS—PROCEEDINGS EMOCUMENE
PLAINTIFF DEFENDANT RETURNS
1/16/74 |Filed Order that the convening of a three judge E court
is not required. (Copies mailed to Attys. Spri others &
Gardner and Attys. Williams & Greenberg& Alton
1/16/74 iFiled Court's Notice of Hearing on question 6€ 1 rauses
Shall proceed as class actions on 2/11/74 at 11
(Copies mailed to Attys. Spriggs, Williams & Gr for pitts.
and Carothers, Gardner and Towles for defendant
1/16/74 |Filed Order consolidating cause with 73-176 and Civ-T
(Copies mailed to Attys. Spriggs, Williams & Gr for
Pltfs. and Carothers, Gardner and Towles for de
1/16/74 |Filed Order for Pre-Trial Conference on March 1 pt 10/:30) a.m,
and for Trial April 10, 1974, at 9:30 a.m. by t in
Tallahs. (Copies mailed to Attys. Spriggs, Wil Greenberg for
pltfis. and Carothers, Gardner and Towles for de
1/18/74 |Filed Plaintiff McGill's Answers to the Interro of the
Defendant Gadsden County Commission
1/28/74 |Filed Motion by Quincy City Commission, Alex McMillan, illy| Mahaffey,
Albert Kohnke, Leon Weaver and Lamar Munroe as Members of the Quincy
City Commission to Dismiss Complaint in 73-177, 73-Ri0
1/28/74 |Filed Memorandum of Law on Motion of Defendants ity Commissidn
Alex McMillan, Billy Mahaffey, Albert Kohnke, Leon Weavet and tanar
Munroe as Members of the Quincy City Commission|to Din ss Complaint
1/28/74 ‘Filed Quincy City Commission, Alex McMillan, Billy haffey, | Albert
Kohnke, Leon Weaver and Lamar Munroe's Motion to Abstain or Stay
Proceedings in TCA 73+177, 73-176, 73210
1/28/74 |Filed Interrogatories Propounded by Gadsden County Commission ET AL.,|
To Plaintiffs in Case No, #3-176
1/30/74 Filed Notice of Hearing on all pending motions set for 2/11/74 at 11:00
A.m. (copies to Mr. Spriggs, Mr. Carothers, Mr, |Gardner, Mr. |Towbés,
Mr. Greenburg, Mr. Williams)
2/4/74 Piledcoert,. copy of Interrogatofies Propounded by Defendants to
Plaintiffs in 73-210
2/6/74 Mailed Notice of rescheduling non jury trial for Aprfil $, 1974, Jat
9:30 a.m. in Tallahassee to Attys. Spriggs, Greéenbury &|williams,
Carothers, Towles, Gardner HHH
2/6/74 Filed plaintiffs' Motion for A Preliminary Injunction Against The
City Defendants
2/7/74 Filed Plaintifis' Response to the Motions of the Delfenflants| Quincy
city Commission to Dismiss and Stay or Abstain -
2/7/74 Filed Plaintiffs' Interrogatories to the Defendant Quanicy Cilty Comm.
2/11/74 Mailed notice setting hearing on motion for preliminary injunction
at 10:30 am. on 3/22/74 at Tallahassee to parties
2/15£74 Fil@ Plaintiff dutley's Asaswer to the interrogatori¢s of the defendant
2/19/74 Filed Answers of Gadsden County Gchool Board Tc Plaintiff's /Interrogpator
2/19/74 Filed Memorandum Brief as to the Propriety of These! causes
Proceeding as a Class action on behalf of defendants
2/19/74 Filed Order on various motions denying deft's motion todabstain
or stay proceedings in 73-210, parties to arrahbge a/mutually convenient
time for hearing on motion for preliminary injunctipn, igranting as
motion ta dismiss the complaint NAACP's dismissal, taking remaining
motions under adv sement. (Copies mailed to counsel)

Case 4:73-cv-00177-WS Document1 Filed 11/25/03 Page 4 of 11

DATE

FILINGS—-PROCEEDINGS

CLERK'S FEES

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PLAINTIFF

DEFEND.

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REPORTED IN
EMOLUMENT
RETURNS

2/26/74
3/1/74
3/5/74

3/6/74

3/12/74

3/12/74

3/22/74

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4/1/74

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4/5/74

4/15/74
4/25/74

5/1/74
5/2/74

5/2/74
5/6/74

5/8/74

Filed Notice of taking Deposition of Spiver Gardon

Tuscaloosa by plaintiff

Fiied Plaintiff McGill's Answers to the Interrogato

Gadsden County Commission

Filed plaintiff's Notice of Devosition on Writtlen Quest
Racklett on 3/22/74 at 10:00 a.m. in Washington, D,

Filed Plaintiff Campbell's Answers to the [nter!
Quincy City Commission

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ions
c.
BPs Of

Filed Order dismissing complaint without prejudice with leay
complaint within 10 days to allege an actual case or cqntrov

coB 10, page 117-119 *

Mailed copies or oder to attorneys Jack Greenby
Richard Gardner, Alton M. Towles, and Kent Spri
Attorney Graham Carothers

JS 6
* and cancelling hearing on motion for prelimil

motions for preliminary injunction

Filed Amended Complaint
(JS 6 cancelled)

Filed Defendants’ Motion to Dismiss Second Amer
Filed Memorandum Brief in Support of Defendants
Amended Complaint

Mailed Notice of Hearing on Defts' Motion to Di
set for 4/8/74 at 19:00 a.m. at Tallahassee to
Filed Plaintiffs' Memorandum in opposition to t
Quincy City Comm., and Gadsden County School Bq
Complaints

Filed Deposition of SPIVER W. GCRDON
Filed Order for Pre-Trial Conference in 73=-177

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pre-trial conf. for 5/24/74 at 11:30 a.m. in Tallahassee an

5/30/74 at 9:30 (copy to parties)
Filed Deposition of Spiver W. Gordon taken 4/8

Hied Deposition of J. Love Hutchinson taken 3/13/74 in 73-76,

73-210

Filed Deposition of Charles Everett Morrow taken 3/13/

and 73-210

Filed Order granting defendants' motions to d
claims against defendants Quincy City Commissi
Commission and Gadsden County School Board as
the L3th Amendment to U. S. Constitutionand 42
2. denying defendants’ motions to dismiss clai
1983, and l4th and 15th Amendments to U. S&S. Co
as a party in TCA 73-177 plaintiff John Hutley|
dismissing as a party Witt Campbel. In TCA 73
allowed to represent their respective classes,
black registered voters in Gadsden County and

/74

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to represent the class of all black registered
Quincy, Fla.

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vote
Mailed copies of order to all counse]
Filed“answer of Defendants to Plaintiffs’ Second Amend

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Case 4:73-cv-00177-WS Document 1 Filed 11/25/03 Page 5 of 11

73-177-CIVv—-T NAACP, ET AL V. GADSDEN COUNTY SBO0OL BOAT
D.C. L0A
CLERK'S FEES AMOUNT
DATE FILINGS—PROGEEDINGS REPORTED I
EMOLUMEN"
PLAINTIFF DEFENDANT RETURNS

5/22/74 Filed Motion to Amend Complaint
5/22/74| Filed Memorandum of Law in support of motion tp amend fomplaint
5/22/74| Filed Notice of Filing Deposition of Robert Rapkleff

5/30/74 Filed Submission in the Nature of a Pre-Trial |Stipplation
5/31/74 Filed Civil Minutes of Non-Jurytrial -Trial cammen¢ted jon 5/30/74 - br
Motion to Quash Subpoena of Mr. Richmond and . Morrigon by state art
Motion to Quash granted - Oral Motions by all defts, tc Diract ja Verfi
and was taken under advisement by the court. fter|testimony and exbhi
were presreted all matters were taken under Advisement Hy the! curt
5/31/74 |Filed IN OPEN COURT Plaintiff's Supplementary Memo of law

laint served on

6/4/74 |Filed US Marshal's Return on 285 showing Amende@ Co
Bs by serving

J. Love Hutchinson, Supv. of Elections of Gadsd
Jeanette Hendley Graham on 5/24/74

7/15/74 |Hearing set for 7/16/74 at 1:00 pm. (counsel of] reo
_7/16/74| Filed Minutes of Hearing : Testimony of Mr. Harry

7/19/74 | Filed Plaintiffs' Post-Trial Brief
7/22/74 Filed Memorandum Decision and Order dismissing cauge of action with
each party to bear own costs. COB 10, pages 481-242
(Copies mailed to all counsel of record)
JS 6

7/24/74 Filed Amended Order. COB 10, pages 262-263 [Mailed ¢opies to
counsel of record)

rd nofiffied| by pho:
rrfiison fraken

8/5/74 Filed Joint Notice of Appeal w/surety bond fox cost
8/6/74 Mailed copy of notice of appeal and docket entrries|to Clerk, 5th CCA
8/6/74 Mailed copies of notice of appeal to defendants counsdi

10/8/74 | Stipulation that Clerk temporarily retain recotd for uge by|parties
in preparing appeal papers filed in TCA 73-176) (copy to 5th/|CCAa)

16/10/74 | Filed Court Reporter's Transcript of final hearing
10/10/74 | Filed Certificate of Appellant that the record including transcript
and all necessary exhibits is complete for purposes! of; appeal
10/10/74 | Clerk's Certificate on record on appeal
10/10/74 | Mailed partial record in form of copy of docket entries, certificate
of counsel for appeallant that record is complete for ptrpose of appeai
to Clerk, 5th CCA, New Orleans, La.
1/15/75 | APPELLANT's letter requesting Clerk to forward jrecord gn appeal) rec'd”
1/15/75 | RECORD on Appeal - 4 volumes of pleadings, TCA !73-210-Hxhibit,
plaintiffs' and defendant's exhibits - mailed to 5¢h Circutt

Soo Ff 3 . m ‘ a . 2 .
PALATE cc Judgment of FCCA issued as Mandate 6/29/76 filed [reversing
District Court's Judgment cranting School Board's Motion
to Dismiss, thus remanding cause. (Cause 73-176 -| Judgment
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affirmed. } REFERRED cause to Pudees Stetfore.

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8/11/76 | Filed cert. copy of ORDER of FCCA of Aug. 6, 1976, dividing |costs
equally between defts-appellees & PoE Ordeh of |FCCR

8/13/76 |REC'D copy of letter re; clarification of Order of IFcCA of Augj 6,
dividing costs (re appellee Gadsden County| Commission).

Case 4:73-cv-00177-WS Document1 Filed 11/25/03 Page 6 of 11

DATE FILINGS--PROCEEDINGS srenn's FEES REPORTED iM
PLAINTIFF DEFENDANT NE TUMNS T
|
3/30/76 REC'D copy of letter of Chief Deputy Clerk, Feta,
re: Court costs & dixected te Mr. Towles|
2/5, MOTICE OF READINESS FOR TRIAL filed by Plt Campbell.
2/8 REFERRED Notices.
2/17 Mailed notice setting case for status hearing 4/18/77 lat 9430
{15/77 MEMORANDUM ON STATUS OF CASE ON REMAND filed
by defendant’s atty REPERRED ©
{28 PLAINTIFFS MOTION FOR SUMMARY JUDGMENT filed |- Réfetred
{28 MEMORANDUM IN SUPPORT OF PLAINTIFF's MOTION FOR
SUMMARY JUDGMENT AND IN OPPOSITION TO
DEFENDANTS MEMORANDUM ON STATUS OF THE CASE
ON REMAND filed
{4 MOTION FOR SUMMARY JUDGMENT filed by Defts. REFERRED
/4 MEMO IN SUPPORT OF MOTION FOR S JUDGMENT & IN OPPOSITION
TO PLTF'S MOTION FOR S JUDGMENT filed by Defts, REF
“8 NOTICE OF ADDITIONAL AUTHORITY filed by Defts. REFERRED
9 ORDER filed denying the parties' Cross Motions} for Burnirary
Judgment, granting parties 60 da. from date of this
Order to conduct discovery relating to issue off
responsiveness vel non of Gadsden County $chooll Bobard
to interests cf black voters of Gadsden County, &
directing Clerk at the end of said 60 da.ljto ibsue
order for PT Conf & to schedule non-jury trial! on
said issue, Copy to counsel
/6 Filed DEFENDANT'S SECOND SET OF INTERROGATORIES TO PLAINTIFF
1/13 Filed PLAINTIFFS' ANSWERS AND OBJECTIONS TO DEFENDANTS! SECOND! SET OF
INTERROGATORIES
{25 ORDER setting case for p.t. for 8/22/77 at 9:30 and
trial for 8/25/77 at 9:30 non-jury. cc: counsel
(f26 Deft's memo in support of their motion to compel dilscovery
and request for sanctions, filed. referredl
(f26 Defts. motion to compel discovery and award expenses|, filed.| referred.
7/8 PLIFS' RESPONSE TO DEFTS' MOTTON TO COMPEL filéd. Referred
/1/77 | PLTFS. supplemental interrogatory answers, filed.
7/1 FILED certificate of counsel. ref. to judge
14 PLTFS' MOTION FOR SUMMARY JUDGMNET WITH MEMO, filed.| referred.
27 DEFENDANTS REPLY IN OPPOSITION TO PLAINTIFFS SECOND] MOTTON FOR
SUMMARY JUDGMENT. FILED. ref. to judge
PLTFS. response to defts. reply in opposition td plt£s.|second motion
for summary judgmant, filed. REFERRED.
Reguest for oral argument, filed. referred.
‘g Mailed notice cancelling pre-trial and trial.
FILED AND MATLED ORDER re~-setting pre-trial fey Oct| 17, 19797. tec: clounsel
10-11 | PRE-TRIAL STIPULATION. FILED ref. to judge
}=11 MOTION TO CONSOLIDATE. WITH MEMO OF LAW. FILED ref. to jhdge
14/77 | Filed Deft's. Notice of additional authority REFERRED

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Case 4:73-cv-00177-WS Document1 Filed 11/25/03 Page 7 of 11

(Rev. 1/75) TCA 73-L77
CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT
DOCKET NO.
NAACP GADSDEN COUNTY SCHOOL BOARD . PAGE ___OF PAGES
yo ATE NR. PROCEEDINGS
1/7/77 ORDER that defts. motion to compel is granted. Pltfs. motion for summary judg-
ment is denied. cc: counsel
11/23/77 ORDER that 1. pltfs. motion for relief from judgment in TCA 73-176 is denied.
2, Pltfs. motion to consolidate TCA 73-176 and TCA 73-177 is denied
ec: counsel
1978
1/5/78 CONDITIONAL REQUEST FOR HEARING filed by plaintiff - referred
(refer to letter dated 1/6/78.
1/16 PLAINTIFFS' amended answers to defendants' SECOND SET OF INTERROGATORIES filed
2/13 PLAINTIFFS'S MOTION CONCERNING COMMUNICATIONS WITH THE CLASS with MEMORANDUM OF
LAW filed - Ref.
2/16 DEFENDANTS' REPLY TO PLAINTIFF'S MOTION CONCERNING COMMUNICATION WITH THE CLASS
filed ~ Referred
3/29 ORDER filed cc:counsels
Plain. motion concerning co mmunication with the class if GRANTED subject
to the following conditions;
1. All contact qwith class members shall be solely for purpose of obtain-
ing info. & discovery relevant to this lawsuit
2. All comm. w/members of proposed class shail be conducted only by counsel
of record.
3. Within 5 days of any such comm the party making the comm. shall file wit
the court a report containing the following info.: a. name and address of
each person interviewed.
b. whether person interviewed gave a recorded statement, either written or
by mechanical instrument.
4/3 PLAINTIFFS' MOTICN TO AMEND ORDER of 3/28/78 with MEMORANDUM OF LAW filed —- Ref.
4/12 Mailed notice setting case for non-jury trial on Aug. 14, 1978 at 9:30
6/12 Mailed notice setting case for non-jury trial on Nov. 6, 1978 at 9:30 and can-
celling trial set for 8/14/78
7/27 ORDER filed on pltf's motion to amend order of 3/28/78 directing that all cammni
cations with class members, whether before or after certification of class,
be solely for the purpose of obtaining information and disc. relevant to
this lawsuit etc.; all commmications with class members shall be conductec
only by attorneys; on 9/1/78 and on first working day of each month there-
after, counsel of record shall file with court, a report concerning communi
cations with members of the class or proposed class during calendar month
etc. (copy to parties)
10/17 Pltfs. motion to add a witness to the pre-trial stipulation, filed.
10/17 Pltfs. motion to establish law of the case or in the alternative
request for judicial notice, filed.
10/17 Pltfs. motion to modify the March 9, 1977 order as to the scope
of the issue at trial of this cause.
10/20 MOTION TO AMEND ANSWER filed by deft. - Ref.
10/25 PLAINTIFF'S RESPONSE TO DEFENDANT'S MOTION TO AMEND ANSWER filed - Ref.
10-26 DEF. REPLY TO PL. MOTION TO MODIFY THE MARCH 8, 1977 ORDER AND PL,
MOTION TO ESTABLISH THE LAWS OF THE CASE. FILED. ref.
10-26 DEF. REPLY TO OL MOTION TO ADD A WITNESS. FILED ref.
10/27 Maild notice setting case for pre-trial on 1/5/79 at 9:30 a.m.
and trial on 1/23/79 at 9:30 A.M.
11-9 ORDER. FILED cc; counsel
1. pl. motion to modify the March 9, 1977 order as to the scope of
the issues at rial is GRANTED.

2. pl motionto establish law of the case or request for judicial
Case 4:73-cv-00177-WS Document1 Filed 11/25/03 Page 8 of 11

(Rev. 1/75) TCA 73-177
CIVIL DOCKET CONTINUATION SHEET FPI-MAR—3.7-78
PLAINTIFF DEFENDANT :
WITT CAMPBELL, et ‘al GADSDEN CO. SCHOOL BOARD DOCKET NO.
PAGE ___OF PAGES
DATE NR. PROCEEDINGS
notice regarding alleged racial motivation behing the establishment
of the at-large election ssytem for school boards is DENIED.
3. pl. motion to add a witness to the pre-trial stip. is GRANTED,
4. DEF. unopposed motion to amend answer is GRANTED.

12/22 Filed ORDER FOR PRE-TRIAL CONFERENCE AND SETTING TRIAL: cc: counse
PT set for 1/5/79: PT stips due 12/29/78: trial set for 1/23/79
in Talla (copies by certified mail)

12/29 Filed PRE-TRIAL STIUPUATION - Ref

Filed PLAINTIFrS' PROFFER - Ref.
1979
1-11 AMENDMENT TO PRE-TRIAL STIPULATION. FILED ref.
1/17 Filed NOTICE OF TAKING DEPOSITION of Ms. Patricia Due on 1/22/79
1-17 MOTION TO VACATE NOTICE OF TAKING DEPOSITION AND MEMO IN SUPPORT
OF MOTION FILED ref.

1- 17 PL. RESPONSE TO DEF. MOTION TO VACATE, FILED ref.

1AL9. Filed CLERK"S ADVICE SHEET Granting Motion to vacate notice of taking deposition

and memorandum in suport of motion cc:counsels

1/24/79 Filed Civil Min- Non-Jury trial commenced 1/23/79 and continued to

1/24/79, Witnesses sworn & evidence received by the court. Matter
taken under advisement by the court. Pltf. & deft.to file briets
by 2/5/79.
2/5 Filed DEFT. POST-TRIAL BRIEF - Ref.
2/5 Filed PLAIN. PROPOSED MEMO OPINION - Ref.
2/12 Filed DEFT. REPLY TO PLATINT. POST~TRIAL BRIEF —- REf.
2/12 PL. RESPONSE TC BEF. POST-TRIAL BRIEF, FILED ref,
2/23 Filed NOTICE OF ADDITIONAL AUTHORITY —- REf.
5/22 Filed defdts' NOTTCE OF ADDITIONAL AUTHORITY - Ref
6/14 Filed NOTICE OF ADDIYIONAL AUTHORITY - Ref
6/25 Filed PLAINTIFF'S COMMENT ON DEFENDANTS! NOTICE OF ADDITIONAL
6/25, | AMEE sta
10/9 F i ay di Dot et mak iy O14 thee 15 24/79
Entry of this court’s opinion and order is being withheld pendine
resolution by US Supreme Ct of disputed issues of law arising
out of decisions of 5th CCA
11/21 Filed MOTION FOR WITHDRAWAL OF COUNSEL by Michael Pearce Dodson fo:
Gadsden County School Board - REf to WS
12/26 Filed Clerk's Advice Sheet GRANTING MOTION TO WITHDRAW AS COUNSEL,
by WM.STAFFORD. cc to Counsel5.
5/27/80 Filed ORDER (WS) copies to counsel
parties have 20 days to file additional legal memo

6/13 FILED Memorandum Breif ref. to WS a

6/17 FILED Plaintiffs Memorandum on the Impact of "City of Mobil V. Bolden ref. WS

12/5 FILED Memorandum Opinion and Order (WS) cc: to counsel
FILED Judgment cc: to counsel

COB 2k PAGE *// JS=6
12/15/8q 7 PLAINTIFF'S MOTION TO AMEND THE JUDGMENT WITH SUPPORTING MEMORANDUM OF LAW filed

Case 4:73-cv-00177-WS Document1 Filed 11/25/03 Page 9 of iit?”

CIVIL DOCKET CONTINUATION SHEET

FP1-Mi—-3.14-75-50M-351t

PLAINTIFF DEFENDANT
DOCKET NO.
WITT CAMPBELL, et al. GADSDEN CO. SCHOOL BOARD PAGE__OF___ PAGES
DATE NR. PROCEEDINGS
+1980
12/16 WDEFDTS' REPLY MEMO TO PLIFS' MOTION TO AMEND JUDGMENT ref to WS
12/31 ‘FILED Referral and Order (WS) cc: to counsel
Motion to Amend the Judgment is DENIED
1981
1/16 NOTICE OF APPEAL filed by pltf ec: FCCA, defdt counsel 1
11/29 FILED Plaintiffs' Notice of Representative
1982 | FILED Notice of Automatic substitution
—2720 FILED Order ECCA
On consideration whereof, it is now here ordered and adjudged
by this court that the hudgment of the said District Court in
this cause be and the same is hereby REVERSED: and that this
cause be, and the same is hereby, REMANDED to said District
Court in accordance with the opinion of this Court;
It is further ordered that defendants-appellees pay to plaintiff
1983 appellants, the costs on appeal to be taxed by the Clerk of this
| Court.
1/27 NOTICE... cc enes Status conference on 2/3/83, 9:30 a.m.,(1l hr.), Tallé
copy mailed to Kent Spriggs, Graham Carothers, &
James Thompson
2/3 CIVIL MIN...... Status conf., discussion only, no testimony, no
exhibits. Status report due 3/15/83
3/10 LETTER..... to Judge Stafford from Thomas Warren ref. WS ae
3/14 LETTER..... to Judge Stafford from Thomas Warren ref. WS
7/1 LETTER..... to Judge Stafford from Kent Spriggs
7/6/83 NOTICE..... Setting final hearing on 9/23/83, 9:30 a.m., Talla.,
copy mailed to Kent Spriggs, Graham Carothers, James
Thompson
7/6 LETTER..... to Judge Stafford from Kent Spriggs ]
7/1i/ NOTICE..... Resetting final hearing on 10/5/83, 2:30 p.m., Talla.,
copy mailed to Kent Spriggs, Tommy Warren, Graham
Carothers, James Thompson
7/18 PROPOSED PLANDS..... defdt's for election of members of the school
board by defdts' ref. WS
19/20 MOTION..... pltf's for attorney's fees and hearing setting with memo
9/22 REFERRED. ,...motion for atty's fees to WS
10/3 PLAINTIFFS' PLAN..... ref. WS f
REFERRAL & ORDER..... (WS) cc: reenburg, Spriggs, Carothers, and
Thompson motion for atty's fees hearing is CONTINUED
10/7 LETTER... from Kent Spriggs to Judge Stafford dated 10/5/83
LO/1L REPLY MEMORANDUM..... defdt's to pitf's proposed plan ref. WS
11/4 NOTICE........- Setting STATUS CONF. on 11/9/83, 3:00 p.m., Talla.,
copy mailed to Kent Spriggs & Graham Carothers
Notice not mailed, parties called and cancelled stat.
cont.
1/9/84 NOTICE.....-.- Setting FINAL HEARING on 2/6/84, 10:00 a.m., Talla.,
copy mailed to Kent Sprigqs, Graham Carothers, James
Thompson :
2/6/84 MINUTES........ Fina]. Hearing, testimony taken exhibits received.
Court considered all 3 plans & found that Board Plan
Ii is the best plan for the job. Counsel is to
draw up an order for the court's signature. All
school board members will have to run fen meecegision
at the next available time.

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CIVIL DOCKET CONTINUATION SHEET FPE-MI—3.14-75.50M-3 811

PLAINTIFF

DEFENDANT
DOCKET NO.

PAGE OF. PAGES

LOR

NR,

PROCEEDINGS

3/6

4/9

4/12

6/4
6/29

7/12
7/13

7/10
7/19/84

7/27

7/31/84

7/31/84

MEMORANDUM OPINION AND ORDER..... (WS) ce: Spriggs, Carothers and
Thompson IT IS FURTHER ORDERED, ADJUDGED and DECREED
that the defdt's School Board of Gadsden County, Florida
shall serve a copy of this decision and order upon the
Supervisor of Elections of Gadsden County, Florida, and
that upon such service the Supervisor of Elections shall
comply with each and every provision set forth above exec]
as may be hereafter modified or amended by order of this
Court. The Plaintiffs are prevailing parties in this
case and are entitled to atty's fees, costs, and expenses
pursuant to 42 U. S. C. :1988 and ::1973l(e) for all time
and expenses reasonably expended by them in the course of
this litigation. The parties shall have 30 days in which
to attempt in good faith to agree on the amount of said fe

costs, and expenses. In the event no resolution in reachec
after said 30 days the plaintiffs shall file their motion
for same within 15 days thereafter. The parties are
encouraged to resolve this entire issue or any sub issue
related thereto so that the ultimate cost of this
litigation may, at least for this stage of the litigation,
be minimized.

‘JOINT MOTION..... pltf's & defdt's for enlargment of time in which
pltf's are required to file their motion for attorneys'
fees, costs, and expenses ref. WS

REFERRAL & ORDER..... (WS) cc: Spriggs, Carothers and Thompson
Joint motion for enlargement of time is GRANTED until
June 5, 1984

STIPULATION. ..., ref, WS

NOTICE...........- SETTING HEARING ON ATTORNEY FEE HEARING on
7/19/84, 9:30 a.m., Talla., copy mailed to
Tommy Warren & Graham Carothers

LETTER..... to Judge Stafford from Spriggs & Warren dated 7/10/84
as to status of Attorneys' Fees

MOTION....Pltfs-appellant's to Supplement the Record on Appeal

SUPPLEMENTAL RECORD....mailed to ECCA

MINUTES...... Attorney Hearing, testimony taken, court to enter
order.
LETTER..... to Judge Stafford from Spriggs & Warren dated 7/20
concerning approval of attorneys' fees by Judge
Pittman

ORDER..... (WS)....for Attorneys' fees, ordered that the award for
attorneys' fees for pltfs. in the amount of
$99,368.00 heretofore stipulated by and between the
parties shall be enhanced by 30% for a total award
of attorneys' fees of $129,178.40. For all of which
let execution issue, copy mailed to Kent Spriggs,
Tommy Warren & Graham Carrothers

ORDER...... (WS)....Directing entry of judgment. Clerk is directed
to close this case, with the court retaining
jurisdiction for a period of 5 years as provided by t
3/2/84 Memorandum Opinion and Order, copy mailed to
Tommy Warren, Kent Spriggs & Graham Cargunersy. cays

bc 1114
(Rev. 1/75}

Case 4:73-cv-00177-WS Document1 Filed 11/25/03 Page 11 of 11

CIVIL DOCKET CONTINUATION SHEET

FPI-MAR~—?-14-80-70M-4398

PLAINTIFF DEFENDANT
DOCKET No, 73-177 _
N.A.A.C.P. GADSDEN COUNTY SCHOOL BOARD PAGE__OF PAGES
DATE NR. PROCEEDINGS
7/31/84 JUDGMENT. ....Copy mailed to Tommy Warren, Kent Spriggs &
Graham Carothers & Tall. Civ. Or. Bk.#32, pg. 316-
331
JS 6
9/19 RETURNED....,Def. exhibits to counsel
9/24 RETURNED.....Plntf. exhibits to counsel. .
9/27 ORDER...(WS)...Approving Stipulation re: attorneys fees.
cc: Spriggs, Carothers, Thompson
LO/2 SATISFACTION..,..O0£ Judgment-stating Clerk is hereby authorized

and directed to note the full and complete satis-
faction and cancellation of said judgment of record.
filed by pintf. atty.

